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19    Siemens Industry Software Inc.

20                               UNITED STATES DISTRICT COURT

21                              NORTHERN DISTRICT OF CALIFORNIA
22                                     SAN FRANCISCO DIVISION
23
      SYNOPSYS, INC.,                             Case No. 3:20-cv-04151-WHO (LB)
24
                   Plaintiff,                     STIPULATION REGARDING
25                                                DEFENDANT’S UNOPPOSED
             v.                                   ADMINISTRATIVE MOTION FOR
26                                                LEAVE TO FILE STATEMENT OF
      SIEMENS INDUSTRY SOFTWARE INC.,             RECENT DECISION
27
                   Defendant.
28


     STIPULATION REGARDING MOTION FOR LEAVE                     CASE NO. 3:20-cv-04151-WHO (LB)
     Case 3:20-cv-04151-WHO Document 399-2 Filed 04/01/24 Page 2 of 2



 1          NOW, THEREFORE, IT IS STIPULATED by and between the parties hereto, through
 2   their respective counsel, that this administrative motion for leave to file statement of recent
 3   decision is unopposed and should be granted.
 4
      By: /s/ Kristin L. Cleveland                             By: /s/ Krista S. Schwartz
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10        Attorneys for Defendant Siemens                          Attorneys for Plaintiff
          Industry Software Inc.                                   Synopsys, Inc.
11

12                                           ATTESTATION

13          I, Kristin L. Cleveland, am the ECF user whose ID and password are being used to file this

14   document. In compliance with Local Rule 5-1(i)(3), I hereby attest that all other signatories listed

15   have concurred in this filing.

16                                                  /s/ Kristin L. Cleveland
                                                    Kristin L. Cleveland
17

18

19                                                ORDER
20          PURSUANT TO STIPULATION, IT IS SO ORDERED.
21   April __, 2024.
22                                                 ___________________________________
                                                   Honorable William H. Orrick
23                                                 United States District Judge
24

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     STIPULATION REGARDING MOTION FOR LEAVE                  -1-       CASE NO. 3:20-cv-04151-WHO (LB)
